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 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 21-CR-109-JAM
12
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
13                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          FINDINGS AND ORDER
14
     ANTONIO MENDOZA RAMOS,                             CURRENT DATE: September 14, 2021
15   LEOPOLDO GONZALEZ, JR.,                            PROPOSED DATE: December 14, 2021
     VICTOR MANUEL VELAZQUEZ,                           COURT: Hon. John A. Mendez
16   ERASMO ZARATE SOLORZANO,
     ESTELA ACEVEDO,
17   CARLOS CANO MANZO,
     DIANA CERVANTES,
18   JOSE GENARO VARGAS-RAMIREZ,
     ALMA ADRIANA MORA MADRIGAL,
19   ALEJANDRO MORA MADRIGAL,
     FERNANDO CARDENAS, AND
20   HUMBERTO PIMENTEL CARANZA,
21                                Defendants.
22

23                                              BACKGROUND

24          This case is set for status conference on September 14, 2021. On May 13, 2020, this Court

25 issued General Order 618, which suspends all jury trials in the Eastern District of California “until

26 further notice.” Under General Order 618, a judge “may exercise his or her authority to continue

27 matters, excluding time under the Speedy Trial Act with reference to the court’s prior General Order 611

28 issued on March 17, 2020 . . . with additional findings to support the exclusion in the Judge’s

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 1 discretion.” General Order 618, ¶ 6 (E.D. Cal. May 13, 2020). In addition, any judge “may order case-

 2 by-case exceptions” to General Order 618’s provisions “at the discretion of that Judge or upon the

 3 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order

 4 will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020). This and

 5 previous General Orders were entered to address public health concerns related to COVID-19.

 6           Although the General Orders address the district-wide health concern, the Supreme Court has

 7 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 8 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 9 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

10 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

11 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

12 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

13 or in writing”).

14           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

15 and inexcusable—General Orders 611, 612, 617, and 618 require specific supplementation. Ends-of-

16 justice continuances are excludable only if “the judge granted such continuance on the basis of his

17 findings that the ends of justice served by taking such action outweigh the best interest of the public and

18 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

19 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that

20 the ends of justice served by the granting of such continuance outweigh the best interests of the public

21 and the defendant in a speedy trial.” Id.

22           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

23 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

24 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

25 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

26 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

27 recognized that the eruption created “appreciable difficulty” for the trial to proceed. Id. at 767-69; see

28 also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time

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 1 following the September 11, 2001 terrorist attacks and the resultant public emergency).

 2          The coronavirus poses a similar, albeit more enduring, “appreciable difficulty” to the prompt

 3 proceedings mandated by the statutory rules. Recently, the Ninth Circuit enumerated a “non-

 4 exhaustive” list of seven factors it found to be “relevant” in considering ends-of-justice Speedy Trial Act

 5 continuances “in the context of the COVID-19 pandemic.” United States v. Olsen, --- F.3d ---, 2021 WL

 6 1589359 at *7 (9th Cir. Apr. 23, 2021). That non-exhaustive list includes: (1) whether a defendant is

 7 detained pending trial; (2) how long a defendant has been detained; (3) whether a defendant has invoked

 8 speedy trial rights since the case’s inception; (4) whether a defendant, if detained, belongs to a

 9 population that is particularly susceptible to complications if infected with the virus; (5) the seriousness

10 of the charges a defendant faces, and in particular whether the defendant is accused of violent crimes;

11 (6) whether there is a reason to suspect recidivism if the charges against the defendant are dismissed;

12 and (7) whether the district court has the ability to safely conduct a trial. Id.

13          In light of the foregoing, this Court should consider the following case-specific facts in finding

14 excludable delay appropriate in this particular case under the ends-of-justice exception, § 3161(h)(7)

15 (Local Code T4). If continued, this Court should designate a new date for the status conference. United

16 States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance must be

17 “specifically limited in time”).

18                                                STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendant

20 LEOPOLDO GONZALES, JR. by and through his counsel of record, Ryan, Roth, defendant VICTOR

21 MANUEL VELAZQUEZ, by and through his counsel of record, Kelly Babineau, defendant ERASMO

22 ZARATE SOLORZANO, by and through his counsel of record, Etan Zaitsu, defendant ESTELA

23 ACEVEDO, by and through her counsel of record, Clemente M. Jimenez, defendant DIANA

24 CERVANTES, by and through her counsel of record, Jennifer Mouzis, defendant JOSE GENARO

25 VARGAS-RAMIREZ, by and through his counsel of record, DINA LEE SANTOS, defendant ALMA

26 ADRIANA MORA MADRIGAL, by and through her counsel of record, Christina Ann-Marie

27 Diedoardo, and defendant HUMBERTO PIMENTEL CARANZA, by and through his counsel of record,

28 Jesse Garcia, hereby stipulate as follows:

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 1         1.       By previous order, this matter was set for status conference on September 14, 2021.

 2         2.       By this stipulation, defendants now move to continue the status conference until

 3 December 14, 2021, and to exclude time between September 14, 2021, and December 14, 2021, under

 4 18 U.S.C. § 3161(h)(7)(A), B(ii), (iv) [Local Codes T2 and T4].

 5         3.       The parties agree and stipulate, and request that the Court find the following:

 6                  a)     The government has produced over 100,000 pages of discovery. Additionally, the

 7         government is in the process of producing voluminous audio and audio/video discovery,

 8         including interceptions over multiple wiretapped telephones as well as recordings of controlled

 9         purchases of narcotics. Many of the recordings are in Spanish.

10                  b)     Counsel for defendants desire additional time to consult with their clients, review

11         the current charges, conduct investigations and research related to the charges, review discovery,

12         discuss potential resolutions, prepare pretrial motions and to otherwise prepare for trial.

13                  c)      Additionally, given the voluminous discovery and the fact that this case involved

14         a multi-line wiretap investigation, it is so complex that it is unreasonable to expect adequate

15         preparation for pretrial proceedings or for the trial itself prior to December 14, 2021.

16                  d)     Counsel for defendants believe that failure to grant the above-requested

17         continuance would deny them the reasonable time necessary for effective preparation, taking into

18         account the exercise of due diligence.

19                  e)     No defendant has invoked his/her speedy trial rights since the inception of the

20         case.

21                  f)     The government does not object to the continuance.

22                  g)     Based on the above-stated findings, the ends of justice served by continuing the

23         case as requested outweigh the interest of the public and the defendant in a trial within the

24         original date prescribed by the Speedy Trial Act.

25                  h)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26         et seq., within which trial must commence, the time period of September 14, 2021 to December

27         14, 2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(ii), (iv)

28         [Local Codes T2 and T4] because it results from a continuance granted by the Court at

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 1          defendant’s request on the basis of the Court’s finding that the ends of justice served by taking

 2          such action outweigh the best interest of the public and the defendant in a speedy trial.

 3          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6          IT IS SO STIPULATED.

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 8
     Dated: September 9, 2021                                  PHILLIP A. TALBERT
 9                                                             Acting United States Attorney
10
                                                               /s/ ANGELA L. SCOTT
11                                                             ANGELA L. SCOTT
                                                               Assistant United States Attorney
12

13
     Dated: September 9, 2021                                  /s/ RYAN ROTH per email
14                                                             authorization
                                                               RYAN ROTH
15
                                                               Counsel for Defendant
16                                                             LEOPOLDO GONZALEZ, JR.

17

18

19   Dated: September 9, 2021                                  /s/ KELLY BABINEA per email
                                                               authorization U
20                                                             KELLY BABINEAU
                                                               Counsel for Defendant
21                                                             VICTOR MANUEL
                                                               VELAZQUEZ
22

23

24   Dated: September 9, 2021                                  /s/ ETAN ZAITSU per email
                                                               authorization
25                                                             ETAN ZAITSU
                                                               Counsel for Defendant
26                                                             ERASMO ZARATE
                                                               SOLORZANO
27

28

      STIPULATION REGARDING EXCLUDABLE TIME                5
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     Dated: September 9, 2021                       /s/ CLEMENTE M. JIMENEZ
 1                                                  per email authorization
                                                    CLEMENTE M. JIMENEZ
 2                                                  Counsel for Defendant
 3                                                  ESTELA ACEVEDO

 4

 5   Dated: September 9, 2021                       /s/ JENNIFER MOUZIS per
                                                    email authorization
 6                                                  JENNIFER MOUZIS
                                                    Counsel for Defendant
 7                                                  DIANA CERVANTES
 8
     Dated: September 9, 2021                       /s/ DINA LEE SANTOS per
 9                                                  email authorization
                                                    DINA LEE SANTOS
10
                                                    Counsel for Defendant
11                                                  JOSE GENARO VARGAS-
                                                    RAMIREZ
12

13   Dated: September 9, 2021                       /s/ CHRISTINA ANN-MARIE
                                                    DIEDOARDO per email
14                                                  authorization
                                                    CHRISTINA ANN-MARIE
15                                                  DIEDOARDO
                                                    Counsel for Defendant
16
                                                    ALMA ADRIANA MORA
17                                                  MADRIGAL

18
     Dated: September 9, 2021                       /s/ JESSE GARCIA per email
19                                                  authorization
                                                    JESSE GARCIA
20                                                  Counsel for Defendant
                                                    HUMBERTO PIMENTEL
21                                                  CARANZA
22

23                                      FINDINGS AND ORDER
24        IT IS SO FOUND AND ORDERED.
25

26   Dated: September 9, 2021                /s/ John A. Mendez
                                             THE HONORABLE JOHN A. MENDEZ
27                                           UNITED STATES DISTRICT COURT JUDGE
28

     STIPULATION REGARDING EXCLUDABLE TIME      6
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